USDC IN/ND case 3:23-cv-00760-DRL-MGG                    document 37         filed 06/05/24      page 1 of 13


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     SOUTH BEND DIVISION

  A.B., a minor,
  by next friend BRIAN WILSON et al.,

                          Plaintiffs,

          v.                                                   CAUSE NO. 3:23cv760 DRL-MGG

  ERIC HOLCOMB et al.,

                          Defendants.

                                         OPINION AND ORDER

         For the second time in five years, Hoosier children pursue a putative federal class action to force

 changes to Indiana’s foster care system. Federal law required the last district court to abstain in favor of

 the state courts supervising ongoing child-welfare proceedings. The law has not changed. Nor in truth

 has the nature of the claims materially changed to permit this second suit to continue.

         Twelve children in Indiana’s system—and really only ten who retain live claims because their state

 child-welfare matters still pend—say the system isn’t what it should be. In a detailed amended complaint,

 they seek an injunction for perceived constitutional and statutory violations. They want changes. They

 want timely and focused treatment for children. They want new helplines for caseworkers and parents.

 They want lower caseloads. They want peer review. They want a new recordkeeping system. They want

 new policies. They want better and faster placement decisions. They want other things too, and all may

 be noble for consideration, but they have an ear for these requests already.

         Today these children can present concerns about their placement, care, treatment, records,

 supervision, and the like to a state court designed specifically for them and their ongoing cases—a Child

 in Need of Services (CHINS) court. If not the Indiana General Assembly, a CHINS court can address

 these issues. And because that is so, federal law tells this court that it cannot. The court must dismiss this

 suit under a doctrine called Younger abstention.
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37     filed 06/05/24      page 2 of 13


                                             BACKGROUND

         Twelve children who are or were in the custody of Indiana’s Department of Child Services (DCS),

 by their next friends, bring this putative class action on behalf of themselves and all children who are

 now or will be in DCS custody. The children sue DCS, DCS Director Eric Miller, and Indiana Governor

 Eric Holcomb for declaratory and injunctive relief.

         The State of Indiana addresses allegations of child abuse and neglect primarily through CHINS

 proceedings. Ind. Code § 31-34-9-1. Once DCS substantiates an allegation, it may initiate a CHINS

 proceeding by filing a petition with a trial court, and the CHINS court normally must hold a hearing

 within ten days, Ind. Code § 31-34-10-2(a), or within two days when a child has been removed from the

 home, Ind. Code § 31-34-5-1(a). A CHINS court has the authority to control the conduct of “any person”

 in relation to a child. Ind. Code § 31-32-13-1(1).

         If the court finds after a hearing that a child needs services, it will hold a dispositional hearing

 within thirty days thereafter to consider the child’s care, placement, treatment, and rehabilitation, to be

 followed by its dispositional decree. Ind. Code §§ 31-34-19-1(a), 31-34-20-1. A CHINS case remains open

 until “the objectives of the dispositional decree have been met.” Ind. Code § 31-34-21-11. The case does

 not end until the child achieves a permanent placement. Ind. Code § 31-19-11-6. This may mean

 reunification, adoption, or termination of parental rights.

         In the interim, the CHINS court reviews the case at least once every six months to ensure that a

 child’s case plan, services, and placement continue to serve his or her best interests. Ind. Code §§ 31-34-

 21-2, 31-34-21-5(a). The court evaluates whether DCS has reasonably provided family services and

 complied with the child’s case plan. Ind. Code §§ 31-34-21-5(a)(1), (b)(1). The court may modify its

 dispositional decree on its own or upon the motion of the child, the child’s representative, the DCS

 attorney, or a service provider. Ind. Code § 31-34-23-1. During this process, most children are represented

 by a guardian ad litem or a court-appointed special advocate (CASA), or both.



                                                       2
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37        filed 06/05/24     page 3 of 13


         For purposes of today’s motion, the court takes the amended complaint’s well-pleaded facts as

 true. Today’s children, and what they hope will be more by way of a class, want to overhaul Indiana’s

 foster care system. They allege statistics that give rise to their concerns. They say, since 2017, the average

 time that children remained in Indiana foster care rose from 490 days to 596 days. From 2015 to 2020,

 children stayed in the system 45 percent longer without a permanent placement. In 2020, a fifth of

 children who were discharged from foster care in Indiana reentered such care within two years. The year

 after, Indiana exceeded the national average for the number of days to reunification by 19.5 percent, and

 the number of days to adoption by 52.3 percent.

         In 2021, according to the amended complaint, DCS lost a net 390 caseworkers and then another

 339 the year after. Staffing matters because some DCS caseworkers report having as many as 35 active

 cases when the recommended average is 12-15 cases. The children advancing this case allege that the

 Indiana Inspector General’s investigative reports revealed numerous instances of caseworkers falsifying

 entries to “buy time.” The children also allege that DCS has used SafeACT—the Safe Assessment Closure

 Team created in 2021 to close out assessments when a child is deemed safe—to conclude cases in an

 effort to decrease caseloads that in reality pose serious safety concerns.

         The United States Department of Health and Human Services, in a 2022 report entitled “Indiana

 Did Not Comply with Requirements for Documenting Psychotropic and Opioid Medications Prescribed

 for Children in Foster Care,” found that in a random sample of healthcare records for children prescribed

 psychotropic or opioid medications, 95 percent lacked medical passports, 62 percent lacked documents

 from their providers, 58 percent omitted authorizations for these medications, and a majority of such

 medications had not been recorded in the Management Gateway for Indiana’s Kids (MaGIK)—DCS’s

 electronic records management system. Its director has since acknowledged that DCS’s recordkeeping

 “requires updating.” DCS has been developing a new system, I-KIDS, but it remains incomplete.

         According to the amended complaint, in 2018, a study conducted by the Child Welfare Policy

 and Practice Group, a group that endeavors to improve outcomes for children and their families by

                                                       3
USDC IN/ND case 3:23-cv-00760-DRL-MGG                    document 37      filed 06/05/24     page 4 of 13


 designing and implementing system changes and improving frontline practices, found that 1,791 Indiana

 foster families withdrew their licenses over a 24-month period. This report also found a “gap in

 resources” for children who require a higher level of care than a foster home. After this report, and

 between March 2021 and March 2022, DCS lost nearly 500 licensed foster homes. The children allege

 that a culture of retaliation does not help—particularly when DCS responds by removing children from

 the foster home, removing providers from cases, threatening to rescind foster care licenses, and

 threatening allegations of abuse or neglect against those who participate. In one alleged instance, DCS

 filed to remove children from their grandparents after they wrote legislators and the governor for help

 when DCS reportedly provided no help for the children’s needs.

        The amended complaint alleges other serious concerns. The children say deficiencies in Indiana’s

 foster care system have had a direct impact on them. Extended stays in the foster care system and frequent

 placement disruptions exacerbated the mental health condition of certain children. Slow responses to

 reports of abuse led to more tragic abuse. Some foster parents received inaccurate medical information.

 Some foster parents were told that their foster children have no psychological conditions despite the

 children verbalizing and acting out on wanting to commit suicide. Some children who needed therapy

 never received it because their foster parents were not told how severe their trauma was. Another child

 remained in residential facilities despite DCS’s knowledge that he was not receiving the treatment he

 needed there. Yet another child did not receive specialized treatment because of the limited supply of

 providers. Missing medical records and the seeming lack of help from DCS led some foster parents to

 relinquish their foster licenses altogether, according to the amended complaint.

        Indiana’s foster care system has evolved with the oversight of all branches of state government,

 and that oversight rests on the wisdom that most all things of human enterprise can be subject to neglect

 or can present opportunities for improvement, some more urgent than others. For instance, the General

 Assembly regularly reviews caseloads and the number of children serviced through DCS programs. See

 Ind. Code §§ 31-25-2-4, 31-25-2-6, 31-25-2-26. The executive branch, through a Department of

                                                     4
USDC IN/ND case 3:23-cv-00760-DRL-MGG                       document 37        filed 06/05/24       page 5 of 13


 Administration’s ombudsman, “receive[s], investigate[s], and resolve[s] complaints that allege [DCS], by

 an action or omission, failed to protect the physical or mental health or safety of any child or failed to

 follow specific laws, rules, or written policies.” Ind. Code § 31-25-5-1. The judiciary’s Child Welfare

 Improvement Committee examines “ways to improve safety, timely permanency, and well-being

 outcomes for children and families involved in the child welfare system.” Ind. Admin. R. 4(A)(5). Even

 the federal Children’s Bureau, operating under the Department of Health and Human Services,

 investigates state child welfare matters and publishes the results of these investigations. 42 U.S.C. § 192.

 With our children in need, it most often takes a village.

                                                  STANDARD

         A Rule 12(b)(1) motion “can take the form of a facial or a factual attack on the plaintiff’s

 allegations.” Bazile v. Fin. Sys. of Green Bay, Inc., 983 F.3d 274, 279 (7th Cir. 2020). When evaluating a facial

 challenge to subject matter jurisdiction, the court must accept alleged factual matters as true and draw all

 reasonable inferences in favor of the plaintiff. See id.; Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015).

 The defense raises a facial attack here, even for its abstention request that “fits more comfortably under

 Rule 12(b)(1).” Ali Nadzhafaliyev v. Hardy, 403 F. Supp.3d 663, 667 (N.D. Ill. 2019). The plaintiffs bear

 the burden of establishing the jurisdictional requirements. Ctr. for Dermatology and Skin Cancer, Ltd. v.

 Burwell, 770 F.3d 586, 588-89 (7th Cir. 2014).

                                                 DISCUSSION

         The children claim that Governor Holcomb and DCS Director Miller violated their Fourteenth

 Amendment due process rights while they were in Indiana’s custody and subject to the foster care

 system’s deficiencies, see Lewis v. Anderson, 308 F.3d 768, 773 (7th Cir. 2002), and their right to a case plan

 under the Adoption Assistance and Child Welfare Act (AACWA), 42 U.S.C. §§ 675(1)(C), (5)(D).1 They


 1 In one paragraph of the amended complaint, the children allude to the First Amendment and Ninth Amendment

 as well, but they remain undeveloped as independent grounds for injunctive relief already pursued through the
 channel of 42 U.S.C. § 1983 under the guise of the Fourteenth Amendment. Mere mention of these other
 amendments ultimately has no effect on today’s outcome.

                                                        5
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37       filed 06/05/24      page 6 of 13


 say all three defendants, including DCS, violated the Americans with Disabilities Act (ADA) and the

 Rehabilitation Act by failing to give those children with disabilities the same access to foster care as non-

 disabled children. See 29 U.S.C. § 794; 42 U.S.C. § 12132. As relief, aside from a declaration, they seek an

 injunction to force the defendants to update DCS’s recordkeeping system, to create a crisis helpline, and

 to implement new policies that will address caseloads and timely treatment, among other things.

         The state defendants ask the court to abstain and allow CHINS courts to address these concerns.

 “Since the beginning of this country’s history[,] Congress has, subject to few exceptions, manifested a

 desire to permit state courts to try state cases free from interference by federal courts,” Younger v. Harris,

 401 U.S. 37, 43 (1971), including by way of injunction, see 28 U.S.C. § 2283. Equitable restraint and

 warranted respect for federalism undergird “a system in which there is sensitivity to the legitimate

 interests of both State and National Governments, and in which the National Government, anxious

 though it may be to vindicate and protect federal rights and federal interests, always endeavors to do so

 in ways that will not unduly interfere with the legitimate activities of the States.” Younger, 401 U.S. at 44.

         A federal court should abstain when “there is an ongoing state proceeding that is judicial in nature,

 involves important state interests, provides the plaintiff an adequate opportunity to raise the federal

 claims, and no exceptional circumstances exist.” Ewell v. Toney, 853 F.3d 911, 916 (7th Cir. 2017). From

 this record, there is no doubting that the ten minors with live claims remain involved in judicial CHINS

 proceedings (absent a permanent placement), and that the State of Indiana has legitimate interests in the

 protection of children and the promotion of their health and welfare. As it turns out, today’s claims can

 be redressed in a CHINS proceeding, and no exceptional circumstances exist to carve out an exception

 for raising them in federal court rather than in those ongoing CHINS proceedings. See FreeEats.com, Inc.

 v. Indiana, 502 F.3d 590, 596 (7th Cir. 2007) (exceptional circumstance means a showing of “such great,

 immediate, and irreparable injury as to warrant intervention in state [] proceedings”).

         At the start, the children devote a significant amount of ink to arguing that Younger should not

 apply. They contend that CHINS proceedings are not like criminal prosecutions and that they have not

                                                       6
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37       filed 06/05/24       page 7 of 13


 sued a state court or state judge. The law has answered their arguments already. The Younger abstention

 doctrine, as it has become known, “applies to state-initiated child-welfare litigation,” Ashley W. v. Holcomb,

 34 F.4th 588, 591 (7th Cir. 2022) (called Ashley here) (citing Moore v. Sims, 442 U.S. 415 (1979)), and applies

 equally to claims against the Indiana governor, DCS, and DCS director, see id. at 591.

         The real question is whether these children seek relief that exceeds the scope or authority of a

 CHINS court, for otherwise “[d]isputes that can be resolved in a CHINS case must be resolved there.”

 Id. at 593. This isn’t a one-size-fits-all analysis. The “scope and complexity of CHINS proceedings makes

 a one-size-fits-all solution inapt,” so the court must “figure out which, if any, of [the] requests should be

 submitted to the CHINS court under Younger and which remain for federal adjudication.” Id. at 592-93.

 “For the same reason, however, the existence of some issues outside the ambit of a CHINS proceeding

 does not mean that Younger drops out of the picture.” Id. at 593.

         These minors can pursue due process claims in a CHINS proceeding. “State courts, as much as

 federal courts, have a solemn obligation to follow federal law.” Arizona v. San Carlos Apache Tribe, 463 U.S.

 545, 571 (1983). The law never presumes that state courts will just ignore federal constitutional rights. See

 Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982). “Principles of comity

 entitle the states to make their own decisions, on federal issues as well as state issues, unless there is some

 urgent need for federal intervention,” Nicole K. v. Stigdon, 990 F.3d 534, 537-38 (7th Cir. 2021), or Congress

 directs otherwise, see Wilhelm v. Cnty. of Milawaukee, 325 F.3d 843, 847 (7th Cir. 2003).

         There is no such need or directive here. Parties in Indiana may bring federal due process claims

 during a CHINS proceeding and may appeal an adverse decision on the same basis. See N.L. v. Ind. Dep’t

 of Child Servs., 919 N.E.2d 102, 108 (Ind. 2010) (vacating CHINS judgment for due process violation);

 McBride v. Monroe Cnty. Off. of Fam. & Child., 798 N.E.2d 185, 194 (Ind. Ct. App. 2003) (parent waived

 due process challenge by not objecting in CHINS court); see also Hatch v. Ind. Dep’t of Child Servs., 2018

 U.S. Dist. LEXIS 58082, 5 (N.D. Ind. Apr. 5, 2018). When “vital state interests are involved, a federal

 court should abstain unless state law clearly bars the interposition of the constitutional claims.” Middlesex,

                                                       7
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37       filed 06/05/24      page 8 of 13


 457 U.S. at 432. No one today demonstrates that such claims would not find their ear in a CHINS court,

 and “[n]o more is required to invoke Younger abstention.” Juidice v. Vail, 430 U.S. 327, 337 (1977).

         This case effectively involves relief similar to that sought in Ashley, even if in a measure expanded.

 There, children in DCS custody sued Governor Holcomb, the DCS director, and DCS—the same officers

 and agency here—for violations of the Fourteenth Amendment’s due process clause as well as state and

 federal law. The children wanted “the court to issue a detailed regulatory injunction specifying better

 procedures for both [DCS’s] operations and CHINS proceedings.” Ashley, 34 F.4th at 591. They wanted

 “an injunction requiring [DCS] to maintain caseloads and accepted professional standards for all workers

 providing direct supervision and planning for children as well as an order requiring [DCS] to periodically

 verify and report that it is meeting those standards.” Id. at 592-93.

         Only two of the children in Ashley retained live claims, so it became “important to know just what

 relief [these two children] want[ed] that could not be provided by the judge in a CHINS proceeding.” Id.

 at 593. They argued that “many children could benefit from hearings at intervals shorter than six months,

 but [they] conceded that the judge hearing the CHINS case has authority to reduce the time between

 hearings if that seems appropriate.” Id. They also argued “that many placements are too slow—in part

 because there aren’t enough people willing to serve as foster parents—or are made less than optimally,”

 or because “the bureaucracy moves sluggishly and makes too many mistakes,” but the court of appeals

 found that, short of ordering the state to come up with more money, a federal court had no more options

 than a CHINS court. Id. at 593-94. The children also argued that the federal court could order certain

 state law provisions to be fully enforced, but a federal court could not issue a mere “obey-the-law”

 injunction. Id. at 594. The court dismissed the case. Id.

         So too here. For one, like Ashley, today’s case involves children engaged in active CHINS cases.

 It features the same federal claims and against the same parties. See Ashley W. v. Holcomb, 467 F. Supp.3d

 644, 648 (S.D. Ind. 2020), rev’d, 34 F.4th 588 (7th Cir. 2022). The plaintiffs in Ashley equally sought

 prospective relief designed to revamp Indiana’s foster care system.

                                                       8
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37       filed 06/05/24      page 9 of 13


         The children here raise a host of challenges to Indiana’s foster care system. The prevailing

 question today is: “what can a federal court do about these things that a CHINS judge could not?” Ashley,

 34 F.4th at 594. They argue that they cannot receive the relief they seek here in CHINS proceedings.

 They say the Ashley plaintiffs could not sufficiently articulate in 2022 what a CHINS court could not do

 when their case today presents enough differentiation that calls on a federal court to act. But their case is

 virtually the same as the one before—and even in its minor differences is met by the law’s demand that

 the court abstain in favor of a CHINS court.

         First, they argue that a CHINS court cannot order Indiana to recruit and retain enough foster

 homes. Aside from ordering the state’s provision of more money, either funding to the system as a whole

 or ultimately to foster parents—an unrealistic and troublesome idea that these children stop short of

 requesting—the court sees no options available solely here and not available in a CHINS court. See Ashley,

 34 F.4th at 593. To increase the number of foster homes, these children say the court could require DCS

 to provide foster and adoptive parents accurate medical information, establish a sufficient recordkeeping

 system, establish a crisis response system, establish a crisis helpline, and implement a policy that prohibits

 retaliation. They say this will help Indiana recruit and retain more foster parents. But they can seek this

 relief in a CHINS court. They say they can’t, but they offer no authority for this view.

         A CHINS court has the authority to control the conduct of “any person” in relation to a child.

 Ind. Code § 31-32-13-1(1). The court may do so on its own or upon the motion of a child’s parent,

 guardian, custodian, or guardian ad litem, or a probation officer, caseworker, prosecuting attorney, DCS

 attorney, or any other person providing services to the child, parent, or guardian. Ind. Code § 31-32-13-

 1. A CHINS court also may decide in its periodic case review whether DCS has made reasonable efforts

 to provide family services or whether DCS has complied with a child’s case plan. Ind. Code §§ 31-34-21-

 5(a)(2), (b)(1). This broad authority demands some deeper response from the plaintiffs—some answer as

 to why a CHINS court can’t use its authority to craft relief that would require DCS to maintain accurate

 and available medical records, prohibit retaliation in any given case, or address crises all with the overall

                                                       9
USDC IN/ND case 3:23-cv-00760-DRL-MGG                         document 37           filed 06/05/24        page 10 of 13


 aim of encouraging the involvement of more foster parents.2 The court doesn’t operate under the

 presumption that state courts won’t enforce federal rights or statutes. See Middlesex, 457 U.S. at 431.

          Second, these children argue that a CHINS court cannot address caseworkers and caseloads. This

 too was addressed by Ashley, 34 F.4th at 594, which found no answer as to what a federal court could do

 about this issue that a CHINS court could not. The children here say the court could order peer

 counseling among caseworkers, establish regional non-caseload carrying units that could absorb cases

 when caseworkers quit, and establish an office that will ensure their physical safety, psychological well-

 being, and professional growth, and thereby reduce turnover.

          But again, they cite no authority that would curtail a CHINS court’s ability to address caseloads—

 say by addressing mistakes that arise from an overburdened caseload, requiring a new caseworker, or even

 requiring one with a lighter or capped load that can afford the desired attention to his or her slate of

 children. Nor do they explain why a so-called overburdened system of caseworkers would be served by

 adding the burden of counseling caseworkers peer-to-peer or, even if sense could be made of it, why this

 would not be within a CHINS court’s power to order. Nor do they articulate this federal court’s authority

 to establish new state government offices, much less to exercise supervisory authority over Indiana’s

 coffers or to direct management of the state fisc to increase the agency’s budget. Any such suggestion

 tends to erode rather than respect the very concerns of federalism that undergird Younger abstention. In

 short, they have not developed an argument outside the result of Ashley.

          Third, the children argue that a CHINS court cannot grant adequate systemic relief. They prefer

 to change the system rather than address constitutional issues on a case-by-case basis. Though they



 2 The record presents instances of a CHINS court acting consistent with this interpretation of broad statutory

 authority. For instance, a CHINS court ordered DCS to provide a child’s full psychological report to the guardian
 ad litem and CASA [21-1 at 74 (A-073)], to ensure that children received sexually maladaptive counseling [21-1 at
 82 (A-081)], and to provide trauma therapy and medication management services for children [21-5 at 112 (E-
 111)], and ordered a medical provider to release the necessary paperwork to allow the children to begin taking
 prescribed medications [21-6 at 87 (F-086)]. Even as a facial attack, “it is a well-settled principle that the decision
 of another court or agency . . . is a proper subject of judicial notice.” Opoka v. INS, 94 F.3d 392, 394 (7th Cir. 1996).

                                                            10
USDC IN/ND case 3:23-cv-00760-DRL-MGG                    document 37         filed 06/05/24      page 11 of 13


 acknowledge that a CHINS court could address constitutional issues in each case, including the adequacy

 of children’s placements and services, they say the reality is that a child will be thrown right back into a

 broken system after one issue is fixed. One circuit has declined to abstain under such a theory and thereby

 declined to follow Ashley. See Jonathan R. v. Justice, 41 F.4th 316, 336 (4th Cir. 2022) (“Reforming foster

 care case-by-case would be like patching up holes in a sinking ship by tearing off the floorboards.”).

 Though another circuit might espouse a different view, this court has no such authority to ignore Ashley,

 nor have the plaintiffs here offered a salient reason for doing so today.

         Lest one forget, Ashley featured a request for systemic relief as well. The court of appeals

 nonetheless held that “[d]isputes that can be resolved in a CHINS case must be resolved there.” Ashley,

 34 F.4th at 593. One might seriously debate, given the unique and individual circumstances of each child

 in Indiana’s foster care system, whether a federal class action really is best suited to address constitutional

 deficiencies in any one child’s case, but the fact of the matter is each concern today may be addressed by

 a CHINS court. For instance, if children in CHINS proceedings need faster placements or more detailed

 medical records, CHINS courts can resolve these issues, and thoughtfully so within the context of the

 needs and interests of these children. If children need care, if they need specific treatment, if they need

 monthly (or bimonthly) visits, if they need modified placements, or if they need other resources, either

 for them or their foster parents, a CHINS court has the power to see to it. And no one should presume

 that relief in CHINS proceedings has no effect on the overall system.

         These plaintiffs exalt a preference for a federal forum to air their grievances, but not a need for

 one—not when CHINS courts stand authorized and ready to address these same concerns adequately. A

 preference for this venue doesn’t alter the court’s obligation to abstain. See 31 Foster Children v. Bush, 329

 F.3d 1255, 1281 n.12 (11th Cir. 2003) (question is not “whether the broad relief the plaintiffs would

 prefer is available but instead whether the forum itself is adequate for addressing the claims and providing

 a sufficient remedy to the individual plaintiffs”); Joseph A. v. Ingram, 275 F.3d 1253, 1274 (10th Cir. 2002)

 (plaintiffs cannot “avoid the effects of the Younger abstention doctrine in cases where relief is available to

                                                       11
USDC IN/ND case 3:23-cv-00760-DRL-MGG                      document 37         filed 06/05/24        page 12 of 13


 individual litigants in ongoing state proceedings but not to represented parties in a class action”). For

 those ten children yet with live claims, the court must abstain under Younger and Ashley.

         The other two (of twelve) children lack standing today. A plaintiff must have standing—an injury,

 fairly traceable to the defendant’s conduct, that the court’s decision will likely redress. Uzuegbunam v.

 Preczewski, 141 S. Ct. 792, 797 (2021); Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Standing is

 individualized. It is not “dispensed in gross,” so a plaintiff “must demonstrate standing for each claim

 [he presses] and for each form of relief [he seeks].” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208

 (2021). An injury “must affect the plaintiff in a personal and individual way,” Spokeo, 578 U.S. at 339, see

 also Matlin v. Spin Master Corp., 979 F.3d 1177, 1181 (7th Cir. 2020), and “it must be likely, as opposed to

 merely speculative, that the injury will be redressed by a favorable decision,” Dep’t of Educ. v. Brown, 600

 U.S. 551, 561 (2023) (quotations omitted).

         If the court’s decision won’t affect a litigant’s rights, “the aggrieved party [is] unable to illustrate

 the redressability component of standing, rendering any judicial decision in the case an impermissible

 advisory opinion.” United States v. Brixen, 908 F.3d 276, 280 (7th Cir. 2018). This case seeks prospective

 injunctive relief that pertains to Indiana’s foster care system, so it follows that someone not in the system

 won’t have their concerns redressed by the court. The other two plaintiffs (K.F. and N.M.) achieved

 permanency—the former’s wardship ended on August 23, 2023 [21-3 at 41 (C-040)], and the other’s

 CHINS case closed on February 7, 2023 [21-5 at 35 (E-034)]. They lack standing to proceed today.3 See

 also Ashley, 34 F.4th at 592 (“hard to accept that standing should be resolved in the abstract [when] the

 question is whether [their] issues . . . matter to these plaintiffs in a way that a court could redress”).

         From here, the court need not address any other doctrine raised by the parties (including the

 Rooker-Feldman doctrine). Younger may take priority over another jurisdictional issue when “there is no



 3 Their claims are likewise moot—lacking as these plaintiffs do a legally cognizable interest in the outcome of any

 live claim. See Olson v. Brown, 594 F.3d 577, 580 (7th Cir. 2010). That ten children retain live claims today also
 demonstrates the inherently transitory exception to mootness will not apply. See id. at 582.

                                                         12
USDC IN/ND case 3:23-cv-00760-DRL-MGG                  document 37         filed 06/05/24       page 13 of 13


 practical difference in the outcome.” Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996); see also Ashley, 34

 F.4th at 594 (dismissing live claims under Younger without reaching the Rooker-Feldman question).

                                             CONCLUSION

         The children in DCS custody who retain live claims today have a ready and adequate ear for their

 complaints in ongoing CHINS proceedings before CHINS courts. The issues these children attempt to

 raise here must be raised there. The court must abstain under Younger and Ashley, so the court GRANTS

 the motion to dismiss [19], DISMISSES this case without prejudice, GRANTS the motion to seal [22],

 and DENIES AS MOOT the motion to eliminate class allegations [24]. This order terminates the case in

 this federal court.

         SO ORDERED.

         June 5, 2024                                     s/ Damon R. Leichty
                                                          Judge, United States District Court




                                                     13
